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IN THE UNITED srATEs DrsTRICT CoURT `HLED BY %..___ o.o.
FoR THE WESTERN DIsrchr or TENNESSEE
05 JUL 22 PH 3= 35

PHILANDER BUTLER, MHB`M. conn
Plaintiff, CLEH(- U»S» .Lif"ll??§»` CUUHT
v. Civil No. 04-2205 D/P
UNrrED sTATEs oF AMERICA,
Defendant.

 

ORDER AND JUDGMENT

 

This matter came before the Court for pretrial conference on July 18, 2005, After
consultation with the parties, the Court determined that there were no disputed issues of fact and that
a trial is therefore unnecessary.

In a previous order, the Court determined that the only issue in this case Was Whether the
plaintiff Was entitled to a transcript of Andre Johnson’s .luly 30, 1999 resentencing hearing. lt is
the judgment of the Court that the PIaintiff is entitled to that transcript, which shall be provided at
government expense The court reporter shall prepare the transcript and mail it to Mr. Butler, Reg.
#16665-076, USP Pollock, P.O. Box 2099, Pollock, LA 71467.

lt is further ordered that all other pending motions, including the Plaintiff‘s petition for Writ

of habeas corpus ad testificandum are denied as moot.

     
 

mice B. Do aid
nited States District Judge

   

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This notice confirms a copy of the document docketed as number 30 in
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Honorable Bernice Donald
US DISTRICT COURT

